                      Case 2:21-mc-00916-DM
AO 106 (Rev. 06/09) Application for a Search Warrant            Document 1 Filed 05/07/21 Page 1 of 14


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District
                                                      __________  Districtofof
                                                                             Louisiana
                                                                               __________
                                                                                                            6($/('
             In the Matter of the Search of                           )
         (Briefly describe the property to be searched                )
          or identify the person by name and address)                 )          Case No. 21-mc-916
  In the Matter of the Search of a Gray Acura Sedan,                  )
    Louisiana License Plate No. 528 BDC and 3126                      )
Independence Street, Apt. B, Metairie, Louisiana, and                 )

                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 SEE ATTACHMENT A.

located in the             Eastern                District of             Louisiana          , there is now concealed (identify the
person or describe the property to be seized):


 SEE ATTACHMENT B.
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
          Code Section                                               Offense Description
    18 U.S.C. § 922(g)(1)              Possession or Receipt of a Firearm by a Prohibited Person
    18 U.S.C. § 924(c)(1)(A)           Possession of a Firearm in Furtherance of a Drug Trafficking Crime
    21 U.S.C. § 841(a)                 Distribution of and the Possession with intent to Distribute Controlled Substances
        The application is based on these facts:

        SEE ATTACHED AFFIDAVIT.
          ✔ Continued on the attached sheet.
          u
          u Delayed notice of 30 days (give exact ending date if more than 30 days:                                  ) is requested
            under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                             /s/James Ollinger
                                                                                            Applicant’s signature

                                                                                  Special Agent James Ollinger, FBI
                                                                                            Printed name and title

Sworn to before me and signed in my presence.

Date:            05/07/2021
                                                                                              Judge’s signature

City and state: New Orleans, Louisiana                                    Honorable Karen Wells Roby, Chief U.S. Magistrate Judge
                                                                                            Printed name and title
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

  IN THE MATTER OF                               *      Search Warrant No. 21-MC-916
  APPLICATION TO THE SEARCH A
  GRAY ACURA SEDAN, LOUISIANA                    *
  LICENSE PLATE # 528 BDC, AND
  3126 INDEPENDENCE STREET,
  APARTMENT B, METAIRIE,
  LOUISIANA, 70006

                                           *     *       *

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, James Ollinger, being duly sworn, depose and state as follows:

       1.       I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), United

States Department of Justice. I have been employed by the FBI for approximately ten years,

currently assigned to the FBI New Orleans Gang Task Force (NOGTF). This task force includes

federal and state officers tasked with the responsibility of investigating illegal gang activity in the

Metropolitan New Orleans area. I have participated in investigations involving drug activity, street

gangs, and violent crimes. I have also participated in several investigations for drug trafficking,

Hobbs Act robberies, and racketeering offenses, and am thoroughly familiar with the investigative

techniques used in these investigations.

       2.       This affidavit is made in in support of the attached application for an order

authorizing the search of:

             a. A gray Acura, as described in Attachment A.

             b. 3126 Independence Street, Apartment B, Metairie, Louisiana, 70006, as described

                in Attachment A (hereafter TARGET LOCATION).
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   3. Based on the facts set forth in this affidavit, I believe there is probable cause that contained

inside TARGET LOCATION is evidence of violations of Title 18 U.S.C. § 922(g)(1)(possession

or receipt of a firearm by a prohibited person); Title 18 U.S.C. § 924(c)(1)(A)(possession of a

firearm in furtherance of a drug trafficking crime); and 21 U.S.C. § 841(a)(1) (the distribution of

and the possession with intent to distribute controlled substances).

       4.      Since this affidavit is being submitted for this limited purpose, I have not included

each and every fact known to me concerning this investigation. I have set forth facts that I believe

are essential to establish the necessary foundation for obtaining a search warrant. I make this

affidavit based upon my personal knowledge derived from my participation in this investigation

and upon information relayed to me from other members of the NOGTF and the New Orleans

Police Department (NOPD).

                                      PROBABLE CAUSE

       5.      The FBI’s NOGTF, working in conjunction with the NOPD, initiated an

investigation into a neighborhood-based gang identified by numerous names including, but not

limited to: Byrd Gang, Bird Gang, Piff Gang, 315 MagFischer, and M3. This group is most

frequently referred to as the Byrd Gang. The Byrd Gang is primarily and historically based in

Harmony Oaks, formerly the C. J. Peete Public Housing Development, but commonly referred to

as the Magnolia Projects, which is located in Uptown New Orleans. This investigation has

identified numerous members and associates of the Byrd gang.

       6.      Through its investigation, the NOGTF has learned that two of these individuals,

Terran WILLIAMS and Alan GRAY, were both Byrd Gang members and close associates. This

conclusion is based on past arrests, social media, information from cooperators, as well as

surveillance conducted by NOGTF members. During the summer of 2020, the NOGTF further



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learned that GRAY was a person of interest in at least two open homicide investigations. On

March 12, 2020, a homicide occurred in the 1300 block of South Galvez Street in New Orleans,

LA. The NOPD processed the scene of the homicide and collected any relevant evidence.,

including a 9 mm casing that was located on the scene of the homicide. The casing was swabbed

for DNA and investigators later learned that there was a CODIS “hit” from this swab to GRAY.

As a result of this notification, the NOPD secured a buccal swab search warrant for a reference

sample of GRAY’s DNA. Additionally, the NOGTF was gathering information that WILLIAMS

was also likely involved in numerous violent crimes in New Orleans.

       7.      On August 26, 2020, members of the NOGTF were able to locate WILLIAMS and

GRAY in the vicinity of 2042 N. Rocheblave Street in New Orleans. At that time WILLIAMS

was observed with a handgun with an extended magazine tucked into his waistband. WILLIAMS

was also observed with what appeared to be a large clear plastic bag containing a green substance

that members of the NOGTF believed to be marijuana. Because WILLIAMS, a convicted felon,

was in possession of a firearm and because GRAY was wanted by NOPD on the buccal swab

warrant, members of the NOGTF and NOPD decided to conduct an investigatory stop of their

vehicle once GRAY and WILLIAMS departed the area.

       8.      WILLIAMS and GRAY eventually departed the area in a black Jeep Gladiator, but

NOGTF and NOPD units were unable to maintain surveillance on the Jeep and no investigatory

stop was done at this time. However, WILLIAMS, GRAY, and numerous other unidentified

individuals were located by NOGTF members later that evening.            Investigators observed

WILLIAMS, GRAY, and the other individuals exit a residence on Freret Street in the Magnolia

Housing Projects. This group of individuals then got into two different vehicles, a white Acura

sedan bearing Louisiana license plate 762 DMY, and a blue Nissan Maxima bearing Louisiana



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license plate 748 DTN. The white Acura was registered to Kerry Anthony BROOKS at 718

Central Avenue, Apartment 201, Jefferson, LA. The blue Nissan Maxima was registered to Cedric

Shawn Jones at 2906 Freret Street in New Orleans, Louisiana. Members of the NOGTF were able

to identify GRAY getting into the blue Nissan Maxima but were unable to determine which of the

two vehicles WILLIAMS entered. Both vehicles departed 2906 Freret Street and NOGTF

members followed both vehicles as they traveled together to the Family Dollar located at 2147 S.

Claiborne Avenue, New Orleans, Louisiana. Both vehicles entered the parking lot and parked next

to each other facing the Family Dollar.

          9.       Members of the NOGTF requested assistance from NOPD marked units to assist in

making contact with the occupants of both vehicles and in another attempt to execute the buccal

swab warrant for GRAY and arrest WILLIAMS for firearm offenses. Moments after an NOPD

marked unit pulled behind the two vehicles, activated its emergency lights, and the officers ordered

the occupants out of the vehicles, the driver of the blue Nissan Maxima abruptly backed out of the

parking spot and fled around the back of the Family Dollar. The blue Nissan Maxima then turned

onto Jackson Avenue and continued to flee northbound on Jackson Avenue at a high rate of speed.

When the vehicle approached the intersection of Martin Luther King Avenue and S. Galvez Street,

the driver was unable to maintain control and the vehicle crashed into the neutral ground.

          10.      At the same time as the blue Nissan Maxima fled from the Family Dollar, Kerry

BROOKS exited the white Acura sedan. Knowing that BROOKS was with the individuals who

fled in the blue Nissan and who were believed to be armed, police officers repeatedly ordered

BROOKS to the ground. BROOKS ignored the officers’ commands and continued to slowly walk

toward the door of Family Dollar 1. Eventually, officers were able to safely approach BROOKS


1
    This exchange between officers and BROOKS is captured on the officers’ NOPD body worn camera.


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and place him on the ground. It is law enforcement’s belief that BROOKS was trying to delay and

distract the officers from pursuing the blue Nissan Maxima. After reviewing the NOPD body

camera of the stop of BROOKS, which showed the officers repeated commands to get on the

ground, and BROOKS’ non-compliance, it is my opinion that he was indeed deliberately trying to

distract the police officers.

        11.      Members of the NOGTF pursued the fleeing blue Maxima at a safe speed when the

vehicle crashed. After the crash, three individuals exited the driver’s side of the vehicle and fled

on foot in different directions. Members of the NOGTF and NOPD established a perimeter

surrounding two blocks between Martin Luther King Blvd and First Street. Minutes later, NOPD

units received information 2 from a concerned citizen regarding a suspicious person who placed a

suspected weapon in a garbage can near the intersection of First Street and N. Miro Street. NOPD

units responded to that location and discovered a loaded Century Arms Draco 7.62 caliber rifle,

bearing serial number PMD 19062 in a garbage can. The concerned citizen, who identified himself

as an off-duty NOPD officer, stated that the individual that placed the weapon in the garbage can

was wearing a white tank top t-shirt and blue shorts with stripes on the side. This was the exact

clothing that GRAY had posted a picture of himself wearing on his Instagram account earlier that

day. Additionally, members of the NOGTF had observed GRAY wearing the same clothing

throughout the day, including when he exited the house on Freret Street and entered the blue Nissan

Maxima.

        12.      Following the crash of the blue Maxima, NOGTF Task Force Officer (TFO)

Michael Zamzam submitted an affidavit for a search warrant for the vehicle and Commissioner


2
  This information was given by a concerned citizen, who was later identified as an off-duty NOPD officer. The off-
duty officer relayed his observations to police officers. This exchange is also captured on the body worn camera of
the investigating NOPD officers.


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Robert Blackburn of the Orleans Parish Criminal Court authorized the search warrant. As a result

of the search of the blue Nissan Maxima, members of the NOGTF seized a loaded Glock 30S, .45

caliber handgun bearing serial XRS251 in the driver’s seat; a loaded Aero Precision 300 Blackout

rifle bearing serial number X209486; a newer model Apple iPhone with three cameras in a cup

holder in the center console; a red and black Apple iPhone in the front passenger seat floorboard

with a sleeve attached to the back of the phone containing WILLIAMS’ Louisiana Identification

Card and numerous credit/debit/money cards in the name of “TERRAN WILLIAMS”; a black

Apple iPhone with a clear protective case on the backseat containing GRAY’s Louisiana

Identification Card between the phone and the protective case; approximately 200 grams of

marijuana in a black backpack located in the back seat; approximately 12 grams of fentanyl,

packaged for distribution, in 10 clear plastic bags located in the passenger side rear door; a loaded

7.62 caliber magazine in a backpack with shark-teeth design on it located on the ground outside of

the driver’s side rear passenger door; and two digital scales and two boxes of sandwich bags which

were located in the backpack.

       13.     On September 4, 2020, a federal grand jury returned a True Bill against

WILLIAMS and GRAY for the August 26th incident described above. WILLIAMS and GRAY

were indicted in the Eastern District of Louisiana for violations of Title 18 U.S.C. §

922(g)(1)(possession or receipt of a firearm by a prohibited person);           Title 18 U.S.C. §

924(c)(1)(A)(possession of a firearm in furtherance of a drug trafficking crime); and Title 21

U.S.C. § 841(a)(1) (distribution of and the possession with intent to distribute controlled

substances).




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       14.     On September 12, 2020, WILLIAMS was arrested by the NOGTF and was in

possession of a rifle, distributable amounts of marijuana, a scale, numerous baggies, and a handgun

with an extended clip.

       15.     On September 14, 2020, members of the NOGTF located GRAY at the Pelham

Hotel on 444 Common Street, in the Central Business District of New Orleans. Hotel management

confirmed GRAY was in Room 412, which was rented by BROOKS on September 12, 2020. At

the same time, agents located the white Acura sedan bearing Louisiana license plate # 762 DMY

in a parking lot near the Pelham Hotel in the 400 block of Common Street. NOGTF had observed

GRAY driving this white Acura sedan days prior to this date.

       16.     Members of the NOGTF approached the room and observed BROOKS and GRAY

as they were exiting the room together. There was no one else located in the room. GRAY was

placed in handcuffs and informed that he was under arrest. Investigators observed a black

backpack with shark’s teeth depicted on it lying on the hotel room floor. This backpack was almost

identical to the backpack with shark’s teeth was found at the car crash scene from August 26, 2020,

described above. As a result of the ongoing investigation, as well as the observations of the

officers, on September 14, 2020, the Honorable Karen Wells Roby, Chief U.S. Magistrate Judge,

granted a search warrant for Room 412 at the Pelham Hotel. A result of this search was the seizure

of two handguns, approximately 54 grams of suspected fentanyl packaged for distribution,

approximately 111 grams of suspected marijuana packaged for distribution, and $4,900 dollars in

cash. Although GRAY was arrested during this incident, BROOKS was only temporarily detained

but ultimately not charged nor arrested at this time.

       17.     However, on April 30, 2021, a federal grand jury returned a Superseding True Bill

against WILLIAMS, GRAY, and BROOKS. In addition to the charges from the incident on



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August 26, 2020, WILLIAMS was also indicted on additional charges based on the drugs and

firearms that were located during his arrest on September 12, 2020. Additionally, GRAY and

BROOKS were indicted for the drugs and firearms that were located during the search of the hotel

room. Both GRAY and BROOKS were indicted in the Eastern District of Louisiana for violating

Title 18 U.S.C. section 922(g)(1)(possession or receipt of a firearm by a prohibited person); Title

18 U.S.C. section 924(c)(1)(A)(possession of a firearm in furtherance of a drug trafficking crime);

and 21 U.S.C. § 841(a)(1) (distribution of and the possession with intent to distribute controlled

substances).

           18.      Following the return of the indictment, a capias was issued for the arrest of

BROOKS 3 and members of the NOGTF began to search for him. NOGTF members learned that

BROOKS was arrested on December 5, 2020 4. Based on a review of BROOKS’ arrest report, his

jail calls, and information gained from database checks, the NOGTF identified a female associate

of BROOKS. Further investigation revealed that this female lived at TARGET LOCATION.

           19.      Given that this female was the first, as well as one of the only persons that

BROOKS called from jail after his arrest, the NOGTF believed that BROOKS was close to this

female and possibly staying with her at TARGET LOCATION.

           20.      On May 7, 2021, members of the NOGTF went to the TARGET LOCATION and

conducted surveillance on the apartment complex in order to locate BROOKS. At 1:15 PM,

investigators observed BROOKS arrive at the location alone in a grey Acura 5 and park in front of




3
 GRAY and WILLIAMS were detained in federal custody when the superseding indictment was returned on April
30, 2021.
4
    This arrest occurred after the incident at the Pelham Hotel with GRAY.
5
    The vehicle parked in a spot reserved for “Apartment B.”


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the TARGET LOCATION. Investigators then observed BROOKS exit the driver’s seat of the

grey Acura and walk into the courtyard in the direction of the TARGET LOCATION.

Investigators maintained surveillance on the vehicle and did not observe anyone else enter or exit

the vehicle.

           21.      Additional investigators proceeded to the TARGET LOCATION and knocked on

the front door. The aforementioned female associate of BROOKS answered the door and

investigators inquired if BROOKS was present inside the TARGET LOCATION. BROOKS then

came to the door of the residence and was placed under arrest.

           22.      Given that BROOKS’ arrest location was in close proximity to the threshold of the

front door, that investigators were uncertain if any additional individuals were inside of the

location, and because BROOKS had been previously observed with firearms, investigators elected

to conduct a quick protective sweep of the residence for the presence of any unknown individuals.

Investigators entered the residence and confirmed that there were no additional individuals inside

of the residence, however, officers observed a firearm in plain-view on a nightstand in a bedroom

of the residence 6.

           23.      BROOKS was read his Miranda rights and acknowledged that the gun did not

belong to the female associate.

           24.      Similar to the facts and the totality of circumstances that lead to a search warrant

being approved for the room at the Pelham Hotel – BROOKS being with WILLIAMS and GRAY

on the night of the August 26th incident, BROOKS being with GRAY in the Pelham Hotel with

additional narcotics and firearms being found in their room, and the fact that investigators observed

a firearm during the protective sweep of the residence following BROOKS’ arrest on May 7, 2021,


6
    See exhibits 1 & 2


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your affiant believes that BROOKS is likely still involved in illegal narcotics and firearms related

activity. Furthermore, your affiant believes and respectfully submits that within TARGET

LOCATION and the gray Acura, there is evidence of violations of Title 18 U.S.C. section

922(g)(1)(possession or receipt of a firearm by a prohibited person); Title 18 U.S.C. section

924(c)(1)(A)(possession of a firearm in furtherance of a drug trafficking crime); and 21 U.S.C.

§ 841(a)(1) (distribution of and the possession with intent to distribute controlled substances).

       25.     Based on the information above, affiant requests that the Court issue the proposed

search warrant pursuant to Federal Rule of Criminal Procedure 41 for TARGET LOCATION and

the gray Acura sedan, as described in Attachment A, for the evidence as described in Attachment

B.


                                                      /s/ James Ollinger
                                                      James Ollinger
                                                      Special Agent
                                                      Federal Bureau of Investigation

Pursuant to Federal Rules of Criminal Procedure 4.1 and 41(d)(3), the undersigned judicial officer
has on this date considered the information communicated by reliable electronic means in
considering whether a complaint, warrant, or summons will issue. In doing so, I have placed the
affiant under oath, and the affiant has confirmed that the signatures on the complaint, warrant, or
summons and affidavit are those of the affiant, that the document received by me is a correct and
complete copy of the document submitted by the affiant, and that the information contained in the
complaint, warrant, or summons and affidavit is true and correct to the best of the affiant’s
knowledge.

Subscribed to and sworn before me,
this 7th day of May, 2021.
New Orleans, Louisiana.

______________________________________
HONORABLE KAREN WELLS ROBY
CHIEF U.S. MAGISTRATE JUDGE




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                           ATTACHMENT A
                         (Property to Be Searched)

1.   A gray Acura, bearing Louisiana license plate 528 BDC




2.   3126 Independence Street, Apartment B, Metairie, Louisiana, 70006
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                                      ATTACHMENT B
                                (Particular Things to be Seized)

   A. Any item(s) that constitute evidence of drug distribution, to include but not limited to: drug

and/or other controlled substances, currency, paraphernalia or equipment used in the preparation,

packaging, concealment, or distribution of controlled substances.

   B. Wireless communication devices and internet-connected devices, including cellular

telephones, smartphones, paging devices, tablets, and computers.

   C. Any and all secured and/or locked safes, boxes, and/or hidden compartments, wherein the

items described in item A may be located.

   D. Firearms, ammunition, and firearms accessories used in furtherance of drug trafficking.




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                       EXHIBITS 1 & 2
